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   Jon B. Fougner (State Bar No. 314097)
 1
   Email: Jon@FougnerLaw.com
 2 600 California Street, 11th Fl.
   San Francisco, CA 94108
 3 Telephone: (434) 623-2843
   Facsimile: (206) 338-0783
 4
 5   [Additional Counsel Appear on Signature Page]

 6 Attorneys for Plaintiff Sidney Naiman and the
   Proposed Class
 7
 8
                             UNITED STATES DISTRICT COURT
 9                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                  OAKLAND DIVISION
10
11 SIDNEY NAIMAN, individually and on
   behalf of all others similarly situated,     NO. 4:17-cv-03806-CW
12
                           Plaintiff,           STIPULATION AS TO CHANGES TO CLASS
13
           v.                                   ACTION SETTLEMENT
14
   TOTAL MERCHANT SERVICES, INC.
15 and QUALITY MERCHANT
   SERVICES, INC.,
16
17               Defendants.

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                                                   1
                    STIPULATION AS TO CHANGES TO CLASS ACTION SETTLEMENT
                 Naiman v. Total Merchant Servs., Inc., Case No. 4:17-cv-03806-CW
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 1          WHEREAS, on August 29, 2018, a class action settlement agreement (“Agreement” or
 2 “Settlement Agreement”) was entered into by and among Sidney Naiman (“Plaintiff”),
 3 individually and on behalf of the class of persons he seeks to represent (the “Settlement Class”),
 4 and Total Merchant Services, Inc. (“Defendant”) (Plaintiff, the Settlement Class, and Defendant
 5 collectively, the “Parties”). The Settlement Agreement was intended by the Parties to fully,
 6 finally, and forever resolve, discharge, and settle this Action and the Released Claims with
 7 prejudice, upon and subject to the terms and conditions of the Agreement, and subject to the final
 8 approval of the Court. Terms not defined herein are intended to have their meaning as defined
 9 therein.
10          WHEREAS, on October 9, 2018, the Court held a hearing regarding preliminary
11 approval of the Agreement. The Court provided its feedback to the Parties regarding the
12 Agreement and the class notice and claims process contemplated thereby. The Parties endeavor
13 to reflect the Court’s feedback in an amendment to their Agreement and to the class notice and
14 claims process contemplated thereby. Defendant Quality Merchant Services, Inc. (“Quality”)
15 joins in this Stipulation.
16          NOW, THEREFORE, IT IS STIPULATED AND AGREED BY AND AMONG
17 PLAINTIFF, DEFENDANT AND QUALITY MERCHANT SERVICES, INC. AS
18 FOLLOWS:
19                                     Warranties of Defendants
20 1.       Defendant agrees, represents, and warrants that to the extent it uses an automatic
21 telephone dialing system and/or artificial or prerecorded voice message, Defendant will promptly
22 stop using such automatic telephone dialing systems and/or artificial or prerecorded voice
23 messages to contact cellular telephones for telemarketing purposes without the recipient’s prior
24 express written consent.
25 2.       Quality agrees, represents and warrants that it will immediately and permanently cease
26 and desist from using automatic telephone dialing systems and artificial or prerecorded voice
27 messages similar to the Spitfire dialing system used in this case (i.e. a computer-based dialing
28 system) for any telemarketing purposes without the recipient’s prior express written consent.
                                                  2
                     STIPULATION AS TO CHANGES TO CLASS ACTION SETTLEMENT
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 1 3.       Defendant and Quality represent and warrant that there is no overlap in their ownership
 2 structures, boards of directors, or staff.
 3 4.       Quality represents and warrants that its net worth is less than $25,000.
 4                                 Changes to the Settlement Language
 5 5.       The definition of “Settlement Class” in section 1.41 is changed to mean the following:
 6 “all persons within the United States to whom Quality Merchant Services, Inc., Michael
 7 Alimento, and/or Brian Alimento made a telephone call using the Spitfire dialing software and/or
 8 system to any telephone number assigned to a cellular telephone service for the purpose of
 9 promoting Defendant’s goods or services from July 5, 2013 through June 8, 2018. These
10 individuals are identified on the Class List. Excluded from the Settlement Class are the
11 following: (1) any trial judge who may preside over this Action; (ii) Defendant; (iii) any of the
12 Released Parties; (iv) Class Counsel and their employees; (v) the immediate family of any of the
13 foregoing Persons; (vi) any member of the Settlement Class who has timely submitted a Request
14 for Exclusion by the Objection/Exclusion Deadline; and (vii) any Person who has previously
15 given a valid release of the claims asserted in the Action.”
16 6.       The new definition of “Settlement Class” in the immediately preceding paragraph
17 removes the qualifier “(i.e., an automated telephone dialing system or an artificial or prerecorded
18 voice)” from the definition of the Spitfire dialer and removes from the Settlement Class people
19 who received calls only to a (non-cellular) “service for which the called party is charged for the
20 call.”
21 7.       Section 4.3(d) is changed to the following: “If any amounts remain in the Settlement
22 Fund because any Settlement Class Member fails to cash his/her/its Benefit Check, or such
23 Benefit Check expires or otherwise becomes null and void, the Settlement Administrator shall
24 distribute the remaining Settlement Fund to the Settlement Class Members who cashed their
25 Benefit Check from the previous round of distribution on a pro rata basis (with pro ration based
26 on shares as set forth in Section 4.3(b) of this Settlement Agreement), except that no check under
27 $5 shall be issued or mailed.Any remaining Settlement Funds shall be distributed to the Cy-Pres
28 Recipient.”
                                                     3
                      STIPULATION AS TO CHANGES TO CLASS ACTION SETTLEMENT
                   Naiman v. Total Merchant Servs., Inc., Case No. 4:17-cv-03806-CW
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 1 8.       The new section 4.3(d) in the immediately preceding paragraph changes the distribution
 2 plan insofar as it specifies the exact monetary thresholds ($5) for ending distributions to class
 3 members and for distributing leftover unclaimed funds to the Cy-Pres Recipient, whereas the
 4 prior language referred less precisely to whether further distributions were “administratively and
 5 economically feasible.”
 6 9.       The release in section 6.1 is changed to the following: “The Releasing Parties do hereby
 7 release and fully, finally, and forever discharge the Released Parties from all claims, debts,
 8 controversies, losses, liabilities, liens, demands, causes of action, suits, damages (including, but
 9 not limited to, actual, statutory, trebled, exemplary, or punitive), fees (including, but not limited
10 to, attorneys’ fees), expenses, and obligations of any kind or nature whatsoever, whether in law
11 or in equity, whether known or unknown, fixed or contingent, claimed or unclaimed, direct or
12 indirect, individual or representative, arising out of or relating to any telemarketing, solicitation,
13 or other marketing or dissemination that was made by QMS, Michael Alimento, and/or Brian
14 Alimento on behalf of Defendant promoting Total Merchant goods or services by way of the
15 actual or alleged use of the Spitfire dialing system arising under the TCPA or similar federal or
16 state laws governing such matters, and any rule or regulation thereunder, including the claims
17 alleged in the SAC, from, the beginning of time through the date of signature of this Settlement
18 Agreement. This release specifically extends to claims that the Releasing Parties do not know or
19 suspect to exist in their favor as of the date of the Final Approval and Judgment, which release is
20 meant to and constitutes a waiver and relinquishment, without limitation, of Section 1542 of the
21 California Civil Code, which provides:
22 A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE CREDITOR
23 DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE TIME
24 OF EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM OR HER MUST
25 HAVE MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE
26 DEBTOR.”
27 10.      The new “Released Claims” section 6.1 in the immediately preceding paragraph changes
28 the bold terms and deletes the italicized terms found in the prior release, as follows:
                                                      4
                      STIPULATION AS TO CHANGES TO CLASS ACTION SETTLEMENT
                   Naiman v. Total Merchant Servs., Inc., Case No. 4:17-cv-03806-CW
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 1 Old Release
 2   “. . . was made by or on behalf of Defendant promoting its goods or services including the
 3 actual or alleged use of an automatic telephone dialing system or an artificial or prerecorded
 4 voice or otherwise arising under the TCPA or similar federal or state laws governing such
 5 matters, and any rule or regulation thereunder, including, without limitation, the claims alleged . .
 6 .”
 7 New Release
 8 “was made by QMS, Michael Alimento, and/or Brian Alimento on behalf of Defendant
 9 promoting Defendant’s goods or services via the actual or alleged use of the Spitfire dialing
10 system arising under the TCPA or similar federal or state laws governing such matters and any
11 rule or regulation thereunder, including the claims alleged . . .”
12 11.      The new “Released Claims” section 6.1 also makes clear that the TCPA’s statute of
13 limitations will not apply to claims with a different statute of limitations by changing “from four
14 years before the filing of the Action until the date of signature of this Settlement Agreement” to
15 “from, for each such claim, the beginning of time through the date of signature of this
16 Settlement Agreement.”
17 12.      The covenant not to sue in section 6.5 is changed to the following: “Plaintiff and the
18 Settlement Class Members agree and covenant not to sue any of the Released Parties with
19 respect to any of the Released Claims and agree forever to be barred from filing, instituting,
20 maintaining, collecting, proceeding against, or seeking to establish liability against any of the
21 Released Parties in any federal, state, or local court or forum, in or before any administrative
22 agency, or in any other proceeding in any forum with respect to any of the Released Claims.”
23 13.      The new covenant-not-to-sue provision in section 6.5 in the immediately preceding
24 paragraph deletes “and agree not to otherwise assist others in doing so” from the original
25 document and changes “based upon, arising out of, related to, or otherwise in connection
26 with, in whole or in part, the Released Claims” to “with respect to any of the Released
27 Claims.”
28
                                                     5
                      STIPULATION AS TO CHANGES TO CLASS ACTION SETTLEMENT
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 1                                Exhibits to the Settlement Agreement
 2 14.      Attached hereto as Exhibit A is a revised long-form notice, which replaces the long-form
 3 notice attached (as Exhibit 2) to the Settlement Agreement. The revised long-form notice
 4 corrects a typographical error in the final bullet point of the first page by adding a semi-colon
 5 and a space between “(508) 221-1510” and “access”, so that the result reads: “(508) 221-1510;
 6 access”.
 7 15.      Attached hereto as Exhibit B is a revised postcard notice, which replaces the postcard
 8 notice attached (as Exhibit 3) to the Settlement Agreement. The revised postcard notice:
 9 a.       increases the font size on the front from 6.5 (front) and 8 (back) to 12;
10 b.       makes the language more concise, approachable and personalized; and
11 c.       adds to the front the following language in bold and all capitals: “A CLASS ACTION
12 SETTLEMENT MAY ENTITLE YOU TO A CASH PAYMENT, BECAUSE YOUR
13 NAME WAS ON A LIST OF PEOPLE WHO GOT PAYMENT-PROCESSING
14 MARKETING CALLS”.
15 16.      The Parties agree, represent and warrant that a toll-free number will be included in the
16 postcard and long-form notice for class members to call.
17 17.      Attached hereto as Exhibit C are revised mock-ups of the settlement website, which
18 replace the mock-ups of the settlement website attached (as Exhibit 4) to the Settlement
19 Agreement. The revised mock-ups eliminate the lorem ipsum placeholder text.
20 18.      The Parties stipulate that, at a minimum, the following documents will be posted on the
21 Settlement Website:
22 a)       The Second Amended Complaint, Dkt. No. 41;
23 b)       The Settlement Agreement, including all exhibits thereto, Dkt. No. 92-1;
24 c)       This Stipulation as to Changes to Class Action Settlement;
25 d)       Plaintiff’s Motion for Preliminary Approval, Dkt. No. 92;
26 e)       This Court’s Order granting Plaintiff's Motion for Preliminary Approval, should such
27 Order issue;
28
                                                      6
                      STIPULATION AS TO CHANGES TO CLASS ACTION SETTLEMENT
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 1 f)       The forthcoming Plaintiff’s Motion for Attorneys Fees, Costs and an Incentive Award,
 2 which shall include the estimated cost of administration as well as class counsel’s estimated
 3 lodestar to date, calculated based on hourly rate and hours worked;
 4 g)       This Court’s Order granting Plaintiff’s Motion for Attorneys Fees, Costs and an Incentive
 5 Award, should such Order issue;
 6 h)       The forthcoming Plaintiff’s Motion for Final Approval of Class Action Settlement; and
 7 i)       This Court’s Order granting Plaintiff’s Motion for Final Approval, should such Order
 8 issue.
 9                                Representations of Plaintiff’s Counsel
10 19.      Attached hereto as Exhibit D is an affidavit of Anthony Paronich confirming that the 10%
11 projected claim rate is a conservative estimate based on his involvement in approximately 25
12 TCPA class settlements. In his cases, the claim rate has tended to fall in the 5-8% range.
13 20.      Also explained in the affidavit is Plaintiff’s counsel’s consideration of whether to
14 recommend a claims process in this matter. Mr. Paronich explains that he has been class counsel
15 for TCPA settlements that have included a claims process and for those that have not, and
16 considered both approaches for the Settlement. Here, the data obtained by Quality for its
17 telemarketing was purchased over the internet from a non-verifiable database. It did not include
18 names or addresses for over 10,000 members of the putative settlement class. The names and
19 addresses that were included were at times indecipherable or clearly false. A claims process
20 prevents fraudulent claims and is necessary here because this is not the type of case, such as an
21 employment case, where the defendant has verified payroll records containing the names,
22 addresses, and social security numbers of all class members. It would be inefficient,
23 counterproductive, and potentially harmful to class members through increased costs to mail
24 checks without a claims process to verify that the information is reliable. As a result, Plaintiff’s
25 counsel is recommending a claims process here. However, imperative to Plaintiff’s counsel’s
26 recommendation is that the claims submission process include mechanisms for encouraging
27 claims and not be burdensome. To that end, the information for class members who enter their
28 ID number from the notice will be pre-populated on the claim form, making the process fast and
                                                      7
                      STIPULATION AS TO CHANGES TO CLASS ACTION SETTLEMENT
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 1 easy. The form will also tell class members how many calls they got so they can make an
 2 informed decision regarding whether or not to opt out of the settlement.
 3 21.      The affidavit explains that the proposed cy pres recipient, National Consumer Law
 4 Center (“NCLC”), is a national organization and thus geographically appropriate cy pres
 5 recipient for a national class settlement.
 6                                  Warranties of the Administrator
 7 22.      The Administrator has warranted to the Parties that it shall monitor and record the details
 8 of every successful and failed delivery of direct notice and distribution. The Administrator has
 9 warranted that these records shall include, at a minimum, the name and address of the addressee
10 and the result of each mailing. The Administrator shall preserve these records for at least 5 years
11 and make them available to the Court or the Parties upon request.
12 23.      The Administrator has warranted to the Parties that the proposed estimated total
13 administrative cost for the settlement is $128,530, based on an estimated 8% claims rate, which
14 is consistent with Mr. Paronich’s affidavit.
15 24.      The Administrator has warranted to the Parties that it will provide the declaration
16 contemplated by section 7.4 of the Settlement Agreement no later than 21 days before the Final
17 Approval Hearing.
18 25.      Attached hereto as Exhibit E is an affidavit from Epiq confirming that notice required by
19 the Class Action Fairness Act was successfully sent by certified mail to 54 officials, including
20 the Attorneys General of each of the 50 states, the District of Columbia and several United States
21 Territories. The Notice was also sent by United Parcel Service to the Attorney General of the
22 United States on September 10, 2018
23                                      Revised [Proposed] Order
24 26.      Attached as Exhibit F is a revised [Proposed] Preliminary Approval Order for the Court’s
25 consideration.
26                                              Escape Clause
27 27.      Notwithstanding anything herein to the contrary, in the event that the Settlement or the
28 Agreement does not become effective, either because the Effective Date does not occur for any
                                                     8
                       STIPULATION AS TO CHANGES TO CLASS ACTION SETTLEMENT
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 1 reason whatsoever or because the Agreement is later determined or declared to be null and void,
 2 in part or in full, this Stipulation shall be null and void, nunc pro tunc, the Parties shall be
 3 returned to the status quo ante, and this Stipulation shall no longer be in effect.
 4          IT IS SO STIPULATED.
 5
            RESPECTFULLY SUBMITTED AND DATED on November 7, 18.
 6
 7                                                By: /s/ Anthony I. Paronich
                                                     Anthony I. Paronich, Admitted Pro Hac Vice
 8                                                   Email: anthony@broderick-law.com
                                                     Edward A. Broderick, Admitted Pro Hac Vice
 9                                                   Email: ted@broderick-law.com
10                                                   BRODERICK & PARONICH, P.C.
                                                     99 High Street, Suite 304
11                                                   Boston, Massachusetts 02110
                                                     Telephone: (617) 738-7080
12                                                   Facsimile: (617) 830-0327
13
                                                      Matthew P. McCue, Admitted Pro Hac Vice
14                                                    E-mail: mmccue@massattorneys.net
                                                      THE LAW OFFICE OF MATTHEW P. McCUE
15                                                    1 South Avenue, Suite 3
                                                      Natick, Massachusetts 01760
16
                                                      Telephone: (508) 655-1415
17                                                    Facsimile: (508) 319-3077

18                                                    Andrew W. Heidarpour, Admitted Pro Hac Vice
                                                      E-mail: AHeidarpour@HLFirm.com
19
                                                      HEIDARPOUR LAW FIRM, PPC
20                                                    1300 Pennsylvania Ave. NW, 190-318
                                                      Washington, DC 20004
21                                                    Telephone: (202) 234-2727
22
                                                      Attorneys for Plaintiff Sidney Naiman and the
23                                                    Proposed Class

24                                                 /s/ Lawren A. Zann
                                                   Beth-Ann Krimsky, Admitted Pro Hac Vice
25
                                                   Email: beth-ann.krimsky@gmlaw.com
26                                                 Lawren A. Zann, Admitted Pro Hac Vice
                                                   Email: lawren.zann@gmlaw.com
27                                                 GREENSPOON MARDER
                                                   200 East Broward Blvd., Suite 1800
28
                                                   Fort Lauderdale, FL 33301
                                                   9
                      STIPULATION AS TO CHANGES TO CLASS ACTION SETTLEMENT
                   Naiman v. Total Merchant Servs., Inc., Case No. 4:17-cv-03806-CW
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                                                    Telephone: (954) 527-2427
 1
                                                    Facsimile: (954) 333-4027
 2
                                                    Attorneys for Defendant Total Merchant
 3                                                  Services, Inc.
 4
                                                    /s/ Kevin Liu
 5                                                  Kevin Liu (State Bar No. 295287)
                                                    Email: kliu@grsm.com
 6                                                  GORDON & REES LLP
                                                    275 Battery St., Ste. 2000
 7
                                                    San Francisco, CA 94111
 8                                                  Telephone: (415) 875-4383
                                                    Facsimile: (415) 986-8054
 9
                                                    Attorneys for Defendant Quality Merchant
10
                                                    Services, Inc.
11
12
                                    CERTIFICATE OF SERVICE
13
14         I, Jon B. Fougner, hereby certify that on November 7, 18, I electronically filed the
15 foregoing with the Clerk of the Court using the CM/ECF system, which will send notification to
16 all counsel of record.
17                                              By: Jon B. Fougner
18
                                                    Jon B. Fougner (State Bar No. 314097)
19                                                  Email: Jon@FougnerLaw.com
                                                    600 California Street, 11th Fl.
20                                                  San Francisco, CA 94108
                                                    Telephone: (434) 623-2843
21
                                                    Facsimile: (206) 338-0783
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               EXHIBIT A
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     UNITED STATES DISTRICT COURT FOR THE NORTHERN
                 DISTRICT OF CALIFORNIA

    Naiman v. Total Merchant Services, Inc., Civil Action No. 4:17-cv-
                              03806-CW
If a call from Defendant or Quality Merchant Services, Michael
    Alimento, or Brian Alimento on behalf of Defendant was
  directed to your cellular telephone, you could get a payment
                 from a class action settlement.
             A federal court authorized this Notice. This is not a solicitation from a lawyer.
•   Defendant Total Merchant Services, Inc. (“Defendant”) has agreed to pay Seven Million Five
    Hundred Thousand Dollars ($7,500,000) into a fund from which eligible persons or entities
    who file claims will receive cash awards. The amount of your recovery will be based on the
    number of calls you received and the number of people who file valid claims, but the
    minimum amount each valid claimant is expected to receive is $225. You can see the
    number of calls you received by inputting your phone number on the settlement website:
    www.XXX.com
•   The website also has a copy of the Settlement Agreement, which defines the special terms
    used in this Notice.
•   The settlement resolves a lawsuit involving allegations that Quality Merchant Services, Inc.,
    Michael Alimento, and/or Brian Alimento made automated telemarketing calls and/or calls
    using an artificial or prerecorded voice on the Defendant’s behalf from July 5, 2013 through
    June 8, 2018 to cellular telephone lines using the Spitfire dialing system.
•   Court-appointed lawyers for the class (“Class Counsel”) will ask the Court for One Million
    Eight Hundred Seventy-Five Thousand Dollars ($1,875,000) of the fund as attorneys’ fees
    for the time they spent investigating the facts, litigating the case, and negotiating the
    settlement. Class counsel will also ask the Court to reimburse them an amount not to exceed
    $20,591.19 for the out-of-pocket expenses they incurred in pursuing the case.
•   Defendant denies all allegations of wrongdoing in the lawsuit. As part of the proposed
    settlement, Defendant does not admit to any wrongdoing and continues to deny the
    allegations against it.
•   The two sides disagree on whether Plaintiff and the class could have won at trial.
•   Your legal rights are affected whether you act or don’t act. Read this Notice carefully.
•   This Notice summarizes the proposed Settlement. For the precise terms and conditions of
    the Settlement, please see the Settlement Agreement available at www.XXX.com; contact
    Class Counsel at Broderick & Paronich, P.C., 99 High St., Suite 304, Boston, MA 02110,
    (508) 221-1510; access the Court docket in this case through the Court’s Public Access to
    Court Electronic Records (PACER) system at https://ecf.cand.uscourts.gov; or visit the office
    of the Clerk of the Court for the United States District Court for the Northern District of


               QUESTIONS? CALL 1-XXX-XXX-XXXX TOLL FREE OR VISIT WWW.XXX.COM
                                            ~1~
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       California, 1301 Clay St., Oakland, CA 94612, between 9:00 a.m. and 4:00 p.m., Monday
       through Friday, excluding Court holidays.

        •   PLEASE DO NOT TELEPHONE THE COURT OR THE COURT CLERK’S
            OFFICE TO INQUIRE ABOUT THIS SETTLEMENT OR THE CLAIMS
            PROCESS.


                   YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT:

      SUBMIT A CLAIM FORM BY Ask for payment. This is the only way to receive a payment
              DATE           from this Settlement.

                                      Get no payment. This is the only option that allows you to ever
        EXCLUDE YOURSELF BY
                                      be part of any other lawsuit against Defendant about the legal
              DATE
                                      claims being resolved.

                OBJECT BY
                                      Write to the Court explaining why you don’t like the settlement.
                 DATE

        ATTEND A HEARING ON           Ask to speak in Court about the fairness of the settlement. To be
              DATE                    heard, you must have timely objected.

                DO NOTHING            Get no payment. Give up right to ever be part of any other
                                      lawsuit against Defendant about the legal claims in this case.



                                         BASIC INFORMATION
 1. What is this notice and why should I read it?


The purpose of this Notice is to let you know that a proposed settlement has been reached in the class action
lawsuit entitled Naiman v. Total Merchant Services, Inc., Civil Action No. 4:17-cv-03806-CW in the United
States District Court for the Northern District of California. You have legal rights and options that you may
act on before the Court decides whether to approve the proposed settlement. Because your rights will be
affected by this settlement, it is extremely important that you read this Notice carefully. This Notice
summarizes the settlement and your rights under it.

 2. What is this lawsuit about?


In a class action, one or more people, called class representatives, sue on behalf of people who have similar
claims. All of these people are a class, or class members. One court resolves the issues for all class members,
except those who exclude themselves from the class.



                 QUESTIONS? CALL 1-XXX-XXX-XXXX TOLL FREE OR VISIT WWW.XXX.COM
                                              ~2~
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Here, the class representative alleges that from July 5, 2013 through June 8, 2018 Defendant violated the
Telephone Consumer Protection Act (“TCPA”) by the fact that Quality Merchant Services, Inc., Michael
Alimento and/or Brian Alimento, on behalf of Defendant, made automated telemarketing calls and/or calls
using an artificial or prerecorded voice through the Spitfire dialing system to cellular telephones and
numbers for which the called party is charged for incoming calls. The class representative alleges that
Defendant did not have the recipients’ permission to make these calls.

The Court has certified a class for settlement purposes only (the “Settlement Class”). U.S. District Court
Judge Claudia Wilken (the “Court”) is in charge of this class action.

Defendant denies that it did anything wrong and that this case would be certified as a class action
in litigation.

                                           THE SETTLEMENT
 3. Why is there a settlement?


The Court has not decided in favor of Plaintiff or Defendant. Instead, both sides agreed to a settlement. That
way, they avoid the cost of a trial, and the people affected will get compensation. The class representatives
and their attorneys think the settlement is best for the Settlement Class.

                                 WHO IS IN THE SETTLEMENT?
 4. How do I know if I am a part of the Settlement?


You are likely in the Settlement Class if, between July 5, 2013 and June 8, 2018, Quality Merchant
Services called your cell phone. You can check whether you are in the Settlement Class by entering
your phone number at www.XXX.com.


If you have questions about whether you are part of the Settlement Class, you may call 1-XXX-XXX-
XXXX or visit www.XXX.com for more information.

                    THE SETTLEMENT BENEFITS – WHAT YOU GET
 5. What does the Settlement provide?


Defendant has agreed to pay Seven Million Five Hundred Thousand Dollars ($7,500,000) to be divided
among all Settlement Class Members who send in a valid Claim Form after any fees, costs, service awards,
and settlement administration expenses have been deducted.

Defendant has also agreed that it will take remedial steps in an effort to comply with the TCPA’s
requirements regarding making telephone calls using an automatic telephone dialing system or an artificial
or prerecorded voice to any telephone number assigned to a cellular telephone service in response to the
allegations and claims asserted in this lawsuit. .



                QUESTIONS? CALL 1-XXX-XXX-XXXX TOLL FREE OR VISIT WWW.XXX.COM
                                             ~3~
   35845320v1
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 6. How much will my payment be?


Your share of the settlement will depend on the number of Claim Forms that Settlement Class Members
submit, and the amount of calls you received, but the minimum amount valid each claimant is estimated to
receive is $225. In particular, the payment to each participating Settlement Class Member will be
proportionate to the number of calls he or she received. It is likely that the actual minimum payment may
be more than that, because not every person who could submit a claim does so, and the leftover amount
goes to the people who do submit valid claims. You can learn the number of calls you received by inputting
your phone number on the settlement website: www.XXX.com

                HOW YOU GET A PAYMENT – SUBMITTING A CLAIM FORM
    7. How do I make a claim?


To qualify for payment, you must submit a Claim Form by Month XX, XXXX. There are multiple ways to
submit a Claim Form. A paper Claim Form is available by calling 1-XXX-XXX-XXXX. Read the
instructions on the postcard carefully, fill out the form, sign it, and mail it postmarked no later than Month
XX, XXXX. You may also submit a Claim Form online by going to the Settlement Website at
www.XXX.com and following directions. You also may download a paper Claim Form on the Settlement
Website or call the Settlement Administrator at 1-XXX-XXX-XXXX. Claim Forms sent by mail must be
postmarked by Month XX, XXXX and mailed to:

                                Total Merchant Telemarketing Settlement
                                       Settlement Administrator
                                                 Epiq
                                           P.O. Box. XXXX
                                          City, State Zip Code


 8. When will I get my payment?

The Court will hold a hearing to decide whether to approve the settlement. The hearing is expected to be
on Month XX, XXXX, and if the hearing date changes, the updated date will be posted to
www.XXX.com. If the settlement is approved, appeals may still follow. It is always uncertain whether
these appeals can be resolved, and resolving them can take more than a year. Please be patient.

 9. What am I giving up to get a payment and stay in the Class?

Unless you exclude yourself, you are staying in the Settlement Class and you will be a Settlement Class
Member. That means you can’t sue, continue to sue, or be part of any other lawsuit against Defendant
regarding the claims that are subject to the settlement. If the settlement is approved and becomes final and
not subject to appeal, then you and all Class Members release all “Released Claims” against all “Released
Parties.” It also means that all of the Court’s orders will apply to you and legally bind you.
The Settlement Agreement (available at www.XXX.com) describes the claims you are releasing (the
“Released Claims”) and against whom you are releasing claims (“Released Parties”) in detail, so read it

                 QUESTIONS? CALL 1-XXX-XXX-XXXX TOLL FREE OR VISIT WWW.XXX.COM
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carefully. To summarize, the release includes, but is not limited to, telemarketing-related claims that arise
out of the improper use of an “automatic telephone dialing system” and/or an “artificial or prerecorded
voice” by, or on behalf of, Defendant to make telephone calls to cellular phones.


                   EXCLUDING YOURSELF FROM THE SETTLEMENT
If you don’t want a payment from this settlement, but you want to keep the right to sue or continue to sue
Defendant, then you must take steps to remove yourself from the Settlement Class. This is called excluding
yourself—or is sometimes referred to as “opting out” of the Settlement Class.

 10. How do I get out of the Settlement?

To exclude yourself from the settlement, you must send a letter saying that you want to be excluded from
the Naiman v. Total Merchant Services, Inc., Civil Action No. 4:17-cv-03806-CW settlement. Your letter
must state that you wish to be excluded from this settlement, include your name, address, and telephone
number and be signed by you. You must mail your exclusion request postmarked no later than Month XX,
XXXX to the following address:
                                Total Merchant Telemarketing Settlement
                                       Settlement Administrator
                                                  Epiq
                                           P.O. Box XXXX
                                          City, State Zip Code

You cannot exclude yourself on the phone or by fax or email. If you ask to be excluded, you will not
get any payment, and you cannot object to the settlement. You will not be legally bound by anything
that happens in this lawsuit. You may be able to sue (or continue to sue) Defendant in the future.

 11. If I don’t exclude myself, can I sue Total Merchant for the same thing later?

No. Unless you exclude yourself, you give up any right to sue Defendant for the claims that this settlement
resolves. If you already have a lawsuit that may relate to the claims being released as part of this class
settlement, you should speak to your lawyer in that case immediately. You must exclude yourself from this
Settlement Class to continue your own lawsuit. Remember, the exclusion deadline is Month XX, XXXX.

 12. If I exclude myself, can I get anything from this Settlement?

No. If you exclude yourself, do not submit a Claim Form to ask for a payment.

                            THE LAWYERS REPRESENTING YOU
 13. Do I have a lawyer in this case?


The Court has appointed Broderick & Paronich, P.C., The Law Office of Matthew P. McCue, Heidarpour
Law Firm and Jon Fougner to represent you and other Settlement Class Members. These lawyers are called



                QUESTIONS? CALL 1-XXX-XXX-XXXX TOLL FREE OR VISIT WWW.XXX.COM
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Class Counsel. You will not be charged for these lawyers. If you want to be represented by your own lawyer,
you may hire one at your own expense.

 14. How will the lawyers be paid?


Class Counsel will ask the Court to approve payment of up to One Million Eight Hundred Seventy-Five
Thousand Dollars ($1,875,000) to them for attorneys’ fees. This amounts to 25% of the total fund. Class
Counsel will also seek recovery of their actual expenses spent on the litigation not to exceed $20,591.19.
These payments would pay Class Counsel for investigating the facts, litigating the case, and negotiating the
settlement. Class Counsel also will request a service award of $10,000 for the named Plaintiff to compensate
him for his time and effort. The Court may award less than these amounts.

If there is money left over that is too small to be practicably distributed to class members, the Parties have
proposed to the Court that it go to the National Consumer Law Center (“NCLC”). NCLC is a nonprofit
organization that works for consumer justice and economic security for low-income and other
disadvantaged people, including advocating against illegal telemarketing.

                               OBJECTING TO THE SETTLEMENT
    15. How do I object to the Settlement?

You can ask the Court to deny approval of the Settlement by filing an objection. You can’t ask the Court to
order a larger settlement; the Court can only approve or deny the settlement. If the Court denies approval,
no settlement payments will be sent out and the lawsuit will continue. If that is what you want to happen,
you must object.


You may object to the proposed settlement in writing, in which case you may also appear at the Final
Approval Hearing, either in person or through your own attorney. If you appear through your own attorney,
you are responsible for paying that attorney. All written objections and supporting papers must (a) clearly
identify the case name and number (Naiman v. Total Merchant Services, Inc., Case Number 4:17-cv-03806-
CW), (b) be submitted to the Court either by mailing them to the Class Action Clerk, United States District
Court for the Northern District of California, 1301 Clay St., Oakland, CA 94612, or by filing them in person
at any location of the United States District Court for the Northern District of California, and (c) be filed or
postmarked on or before [DATE].


The written objection must (a) contain information sufficient to allow the parties to confirm that you are a
member of the Settlement Class, including your full name, address, telephone number, and signature; (b)
include a statement of your specific factual and/or legal objections, as well as any witness testimony and
documents that you would like the Court to consider; (c) provide the name and contact information of any
attorney you intend to have assert your objections before the Court; (d) state whether you intend to appear
at the Final Approval Hearing.


 16. What’s the difference between objecting and excluding myself from the Settlement?



                QUESTIONS? CALL 1-XXX-XXX-XXXX TOLL FREE OR VISIT WWW.XXX.COM
                                             ~6~
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Objecting simply means telling the Court that you don’t like something about the settlement. You can object
only if you stay in the Settlement Class. Excluding yourself from the Settlement Class is telling the Court
that you don’t want to be part of the Settlement Class. If you exclude yourself, you have no basis to object
because the case no longer directly affects you.

                              THE COURT’S FAIRNESS HEARING
 17. When and where will the Court hold a hearing on the fairness of the Settlement?


The Court is expected to hold the final fairness hearing at X:00 x.m. on Month XX, XXXX, before the
Honorable Claudia Wilken at the U.S. District Court for the Northern District of California, 1301 Clay
Street, Oakland, CA 94612. The purpose of the hearing is for the Court to determine whether the settlement
is fair, reasonable, adequate, and in the best interests of the class. At the hearing, the Court will hear any
objections and arguments concerning the fairness of the proposed settlement, including those related to the
amount requested by Class Counsel for attorneys’ fees and expenses, and the incentive award to the class
representative. After the hearing, the Court will decide whether to approve the settlement. We do not know
how long these decisions will take.

Note: The date and time of the fairness hearing are subject to change by Court Order without further notice
to the class. You may check www.XXX.com or https://ecf.cand.uscourts.gov to check if the date has
changed.

                           DO I HAVE TO ATTEND THE HEARING
 18. Do I have to come to the hearing?

Class Counsel will answer any questions the Court may have. But you are welcome to come to the hearing
at your own expense. If you send an objection, you don’t have to come to Court to talk about it. As long as
your written objection was filed or mailed on time, and meets the other criteria described in the Settlement
Agreement, the Court will consider it. You may also pay a lawyer to attend, but you don’t have to.

 19. May I speak at the hearing?


If you do not exclude yourself from the Settlement Class, you may ask the Court for permission to speak
at the hearing concerning any part of the proposed Settlement Agreement. If you filed an objection and
intend to appear at the hearing, you must state your intention to do so in your objection. To speak, you
must state that you intend to appear at the hearing in your objection. Be sure to include your name,
address, telephone number, that you are a Class Member, and your signature. You cannot speak at the
hearing if you exclude yourself.




                QUESTIONS? CALL 1-XXX-XXX-XXXX TOLL FREE OR VISIT WWW.XXX.COM
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                                       IF YOU DO NOTHING
 20. What happens if I do nothing at all?

If you do nothing, you’ll get no money from this settlement. But, unless you exclude yourself, you won’t
be able to start a lawsuit, continue with a lawsuit, or be part of any other lawsuit against Defendant about
the legal issues released in this case.

                               GETTING MORE INFORMATION
 21. How do I get more information?


This notice summarizes the proposed settlement. More details are in the Settlement Agreement. You may
review the Settlement Agreement on the Settlement Website at www.XXX.com. You can also get a copy
of the Settlement Agreement by writing to any of the Court-appointed attorneys.
You can call 1-XXX-XXX-XXXX toll-free; write to Total Merchant Telemarketing Settlement, Epiq, P.O.
Box XXXX, City, State Zip Code; or visit the website at www.XXX.com, where you will find answers to
common questions about the settlement, a Claim Form, plus other information to help you determine
whether you are a member of the Settlement Class.


PLEASE DO NOT CONTACT THE COURT, THE JUDGE, OR THE DEFENDANT WITH
        QUESTIONS ABOUT THE SETTLEMENT OR CLAIMS PROCESS.




                QUESTIONS? CALL 1-XXX-XXX-XXXX TOLL FREE OR VISIT WWW.XXX.COM
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               EXHIBIT B
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                                                         Unique ID: <<XXXXXXXXXXXXXXX>>
Naiman v. Total Merchant Services, Inc., Settlement      Please use the above unique ID to file a claim online at
Administrator                                            www.XXXXXXXXXXXX.com
P.O. Box 3770
Portland, OR 97208-3770


A CLASS ACTION SETTLEMENT MAY
ENTITLE YOU TO A CASH PAYMENT,                           Postal Service: Please do not mark barcode
BECAUSE YOUR NAME WAS ON A LIST OF
PEOPLE WHO GOT PAYMENT-PROCESSING
MARKETING CALLS                                          «MailRec»
                                                         «First1» «Last1»
The purpose of this postcard is to let you know that a   «CO»
proposed settlement has been reached in Naiman v.        «Addr2»
Total Merchant Services, Inc., No. 4:17-cv-03806-CW,     «Addr1»
in Oakland, California. You have options but limited     «City», «St» «Zip»
time to exercise them. Because your rights will be       «Country»
affected by this settlement, we ask you to please read
this notice carefully.
                                                         «Barcode»




This is a short summary. Visit www.XXXXXXXXXX.com or call 1-877-327-1109 for more details or a claim form.
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What is this about? According to a database, calls            sue. You may opt out of the settlement. If you do, you will
marketing payment processing services may have been           not receive a payment, but you will be free to pursue
made to you and others. Allegedly, these calls violated the   whatever legal rights you may have at your own risk and
Telephone Consumer Protection Act, 47 U.S.C. § 227, so a      expense. To opt out, mail a request to: Naiman v. Total
class action was filed. This is a notice of a pending         Merchant Services, Inc. Settlement Administrator, P.O.
settlement of that lawsuit.                                   Box 3770, Portland, OR 97208-3770 by XX, XXXXXX,
                                                              XXXX, with your full name, address, and telephone
How much money can I get? The settlement creates a            number(s), a statement that you wish to be excluded from
fund of $7,500,000. Of that, class counsel will ask for       the Naiman v. Total Merchant Services, Inc., No. 4:17-cv-
slightly over $2 million for attorneys’ fees, expenses,       03806-CW settlement, and your signature.
administration costs and a service award for the class
representative. The rest will go to class members. Even if    You can ask the court to deny approval by filing an
all recipients of this postcard make a claim, you are         objection that (a) references Naiman v. Total Merchant
expected to receive at least $<<personalized estimate         Services, Inc, No. 4:17-cv-03806-CW and (b) is mailed to
based on 100% claim rate>> because records show that          Class Action Clerk, U.S.D.C. N.D. Cal., 1301 Clay St.,
you received <<X>> calls.                                     Oakland, CA 94612 or filed in person at any location of
How can I get a payment? You must complete a claim            that court on or before XX, XXXXXX, XXXX.
form by XX, XXXXXX, XXXX. Claim forms may be                  When will the settlement be finally approved? The court
completed online at www.XXXXXXXX.com or by                    intends to hold a hearing at [DATE] and Time at 1301
mailing a paper form, which you can request at 1-877-         Clay St. That date may change without further notice. You
327-1109.                                                     may check the website below for updates.
What are my options? If you are a settlement class            Where can I learn more? For more detail and contact
member and submit a claim form or do nothing, and the         information, please see www.XXXXXXXXXX.com.
court approves settlement, you will give up your right to
This is a short summary. Visit www.XXXXXXXXXX.com or call 1-877-327-1109 for more details or a claim form.
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               EXHIBIT D
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   Jon B. Fougner (State Bar No. 314097)
 1
   Email: Jon@FougnerLaw.com
 2 600 California Street, 11th Fl.
   San Francisco, CA 94108
 3 Telephone: (434) 623-2843
   Facsimile: (206) 338-0783
 4
   [Additional Counsel Appear on Signature Page]
 5

 6 Attorneys for Plaintiff Sidney Naiman and the
   Proposed Class
 7
                                UNITED STATES DISTRICT COURT
 8                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9 SIDNEY NAIMAN, individually and on
   behalf of all others similarly situated,               NO. 3:16-cv-05486-JCS
10
                           Plaintiff,                     AFFIDAVIT OF ANTHONY I. PARONICH
11                                                        IN SUPPORT OF STIPULATION AS TO
            v.
12                                                        CHANGES TO CLASS ACTION
   TOTAL MERCHANT SERVICES, INC. and                      SETTLEMENT
13 QUALITY MERCHANT SERVICES, INC.,

14
                           Defendants.
15

16

17
            I, Anthony I. Paronich, declare as follows:
18
            1.      I am an attorney duly admitted to practice in the Commonwealth of
19
     Massachusetts, I have extensive experience in the prosecution of class actions on behalf of
20
     consumers.
21
            2.      On August 29, 2018, a class action settlement agreement (“Agreement” or
22
     “Settlement Agreement”) was entered into by and among Sidney Naiman (“Plaintiff”),
23
     individually and on behalf of the class of persons he seeks to represent (the “Settlement Class”),
24
     and Total Merchant Services, Inc. (“Defendant”) (Plaintiff, the Settlement Class, and Defendant
25
     collectively, the “Parties”). The Settlement Agreement was intended by the Parties to fully,
26
     finally, and forever resolve, discharge, and settle this Action and the Released Claims with
27

     AFFIDAVIT OF ANTHONY I. PARONICH IN SUPPORT OF STIPULATION AS TO
     CHANGES TO CLASS ACTION SETTLEMENT- 1
     CASE NO. 4:17-cv-03806-CW
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 1 prejudice, upon and subject to the terms and conditions of the Agreement, and subject to the final

 2 approval of the Court. Terms not defined herein are intended to have their meaning as defined

 3 therein.

 4         3.      On October 9, 2018, the Court held a hearing regarding preliminary approval of
 5 the Agreement. The Court provided its feedback to the Parties regarding the Agreement and the

 6 class notice and claims process contemplated thereby. The Parties endeavor to reflect the Court’s

 7 feedback in an amendment to their Agreement and to the class notice and claims process

 8 contemplated thereby and are submitting a Stipulation reflecting those changes.

 9         4.      I respectfully submit this affidavit in support of that Stipulation.
10         5.      During the Court’s preliminary approval hearing, I explained that the 10%
11 projected claim rate is a conservative estimate based on my involvement in approximately 25

12 TCPA class settlements. In TCPA cases, the claim rate has tended to fall in the 5-8% range.

13 While claims rates in TCPA cases have, at times,

14         6.      I gave extensive consideration as to whether to recommend that the Court Order a
15 claims process in this matter.

16         7.      I have been Class Counsel in TCPA class action settlements that have included a
17 claims process and for those that have not and considered both approaches for the Settlement.

18         8.      Here, the data obtained by Quality for its telemarketing was purchased over the
19 internet from a non-verifiable database. It did not include names or addresses for over 10,000

20 members of the putative settlement class. The names and addresses that were included were at

21 times indecipherable or clearly false.

22         9.      A claims process prevents fraudulent claims and is necessary here because this is
23 not the type of case, such as an employment case, where the defendant has verified payroll

24 records containing the names, addresses, and social security numbers of all class members.

25

26

27

     AFFIDAVIT OF ANTHONY I. PARONICH IN SUPPORT OF STIPULATION AS TO
     CHANGES TO CLASS ACTION SETTLEMENT- 2
     CASE NO. 4:17-cv-03806-CW
           Case 4:17-cv-03806-CW Document 101-1 Filed 11/08/18 Page 34 of 54




 1          10.    It would be inefficient, counterproductive, and potentially harmful to class
 2 members through increased costs to mail checks without a claims process to verify that the

 3 information is reliable.

 4          11.    As a result, I’m recommending a claims process here.
 5          12.    However, imperative to my recommendation is that the claims submission process
 6 include mechanisms for encouraging claims and not be burdensome.

 7          13.     To that end, the information for class members who enter their ID number from
 8 the notice will be pre-populated on the claim form, making the process fast and easy. The form

 9 will also tell class members how many calls they got so they can make an informed decision

10 regarding whether or not to opt out of the settlement.

11          14.    The National Consumer Law Center is a national organization and thus
12 geographically appropriate cy pres recipient for a national class settlement. See e.g.

13 https://www.nclc.org/about-us/our-story.html (“lawyers of the National Consumer Law Center

14 provide policy analysis, advocacy, litigation, expert witness services, and training for consumer

15 advocates throughout the United States.” Last Visited November 5, 2018)

16

17

18

19          EXECUTED at Plymouth, Massachusetts this 5th day of November, 2018.
20

21                                                By: /s/ Anthony I. Paronich
                                                     Anthony I. Paronich
22

23

24

25

26

27

     AFFIDAVIT OF ANTHONY I. PARONICH IN SUPPORT OF STIPULATION AS TO
     CHANGES TO CLASS ACTION SETTLEMENT- 3
     CASE NO. 4:17-cv-03806-CW
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               EXHIBIT E
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                            UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF CALIFORNIA

SIDNEY NAIMAN, individually and on
behalf of all others similarly situated,
                                                     Case No. 4:17-cv-03806-CW
                         Plaintiffs,

       v.

TOTAL MERCHANT SERVICES, INC. and
QUALITY MERCHANT SERVICES, INC.,

                         Defendants.


                        DECLARATION OF STEPHANIE J. FIERECK, ESQ.
                           ON IMPLEMENTATION OF CAFA NOTICE

I, STEPHANIE J. FIERECK, ESQ., hereby declare and state as follows:

        1.      My name is Stephanie J. Fiereck, Esq. I am over the age of 21 and I have

personal knowledge of the matters set forth herein, and I believe them to be true and correct.

        2.      I am the Legal Notice Manager for Epiq Class Action & Claims Solutions, Inc.

(“Epiq”), a firm that specializes in designing, developing, analyzing and implementing large-scale,

un-biased, legal notification plans.

        3.      Epiq is a firm with more than 20 years of experience in claims processing and

settlement administration. Epiq’s class action case administration services include coordination

of all notice requirements, design of direct-mail notices, establishment of fulfillment services,

receipt and processing of opt-outs, coordination with the United States Postal Service, claims

database management, claim adjudication, funds management and distribution services.

        4.      The facts in this Declaration are based on what I personally know, as well as

information provided to me in the ordinary course of my business by my colleagues at Epiq.



                          DECLARATION OF STEPHANIE J. FIERECK, ESQ.
                             ON IMPLEMENTATION OF CAFA NOTICE
          Case 4:17-cv-03806-CW Document 101-1 Filed 11/08/18 Page 37 of 54




                                CAFA NOTICE IMPLEMENTATION

          5.     At the direction of counsel for the Defendants, 55 officials, which included the

Attorney General of the United States and the Attorneys General of each of the 50 states, the

District of Columbia and several United States Territories were identified to receive the CAFA

notice.

          6.     Epiq maintains a list of these state and federal officials with contact information

for the purpose of providing CAFA notice. Prior to mailing, the names and addresses selected

from Epiq’s list were verified, then run through the Coding Accuracy Support System (“CASS”)

maintained by the United States Postal Service (“USPS”).1

          7.     On September 10, 2018, Epiq sent 55 CAFA Notice Packages (“Notice”). The

Notice was mailed by certified mail to 54 officials, including the Attorneys General of each of

the 50 states, the District of Columbia and several United States Territories. The Notice was also

sent by United Parcel Service (“UPS”) to the Attorney General of the United States. The CAFA

Notice Service List (USPS Certified Mail and UPS) is attached hereto as Attachment 1.

          8.     The materials sent to the Attorneys General included a cover letter which

provided notice of the proposed settlement of the above-captioned case. The cover letter is

attached hereto as Attachment 2.

          9.     The cover letter was accompanied by a CD, which included the following:

                    Complaint for Damages and Injunctive Relief; First Amended Complaint for
                     Damages and Injunctive Relief; and Second Amended Complaint for
                     Damages and Injunctive Relief;

                    Class Action Settlement Agreement (with exhibits);

1 CASS improves the accuracy of carrier route, 5-digit ZIP®, ZIP + 4® and delivery point codes that appear on mail
pieces. The USPS makes this system available to mailing firms who want to improve the accuracy of postal codes,
i.e., 5-digit ZIP®, ZIP + 4®, delivery point (DPCs), and carrier route codes that appear on mail pieces.

                            DECLARATION OF STEPHANIE J. FIERECK, ESQ.
                               ON IMPLEMENTATION OF CAFA NOTICE
                                               2
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      Attachment 1
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                                                    CAFA Notice Service List
                                                             UPS
Company                           FullName        Address1                     Address2   City         State   Zip
US Department of Justice          Jeff Sessions   950 Pennsylvania Ave NW                 Washington   DC        20530
                                     Case 4:17-cv-03806-CW Document 101-1 Filed 11/08/18 Page 41 of 54
                                                                     CAFA Notice Service List
                                                                       USPS Certified Mail

Company                                 FullName                       Address1                                Address2                      City             State    Zip
Office of the Attorney General          Jahna Lindemuth                PO Box 110300                                                         Juneau           AK      99811
Office of the Attorney General          Steve Marshall                 501 Washington Ave                                                    Montgomery       AL      36104
Office of the Attorney General          Leslie Carol Rutledge          323 Center St                           Suite 200                     Little Rock      AR      72201
Office of the Attorney General          Mark Brnovich                  2005 N Central Ave                                                    Phoenix          AZ      85004
Office of the Attorney General          CAFA Coordinator               Consumer Law Section                    455 Golden Gate Ave Ste 11000 San Francisco    CA      94102
Office of the Attorney General          Cynthia Coffman                Ralph L Carr Colorado Judicial Center   1300 Broadway 10th Fl         Denver           CO      80203
Office of the Attorney General          George Jepsen                  55 Elm St                                                             Hartford         CT      06106
Office of the Attorney General          Karl A. Racine                 441 4th St NW                                                         Washington       DC      20001
Office of the Attorney General          Matt Denn                      Carvel State Office Bldg                820 N French St               Wilmington       DE      19801
Office of the Attorney General          Pam Bondi                      State of Florida                        The Capitol PL-01             Tallahassee      FL      32399
Office of the Attorney General          Chris Carr                     40 Capitol Square SW                                                  Atlanta          GA      30334
Department of the Attorney General      Russell Suzuki                 425 Queen St                                                          Honolulu         HI      96813
Iowa Attorney General                   Thomas J Miller                1305 E Walnut St                                                      Des Moines       IA      50319
Office of the Attorney General          Lawrence G Wasden              700 W Jefferson St Ste 210              PO Box 83720                  Boise            ID      83720
Office of the Attorney General          Lisa Madigan                   100 W Randolph St                                                     Chicago          IL      60601
Indiana Attorney General's Office       Curtis T Hill Jr               Indiana Government Center South         302 W Washington St 5th Fl    Indianapolis     IN      46204
Office of the Attorney General          Derek Schmidt                  120 SW 10th Ave 2nd Fl                                                Topeka           KS      66612
Office of the Attorney General          Andy Beshear                   Capitol Ste 118                         700 Capitol Ave               Frankfort        KY      40601
Office of the Attorney General          Jeff Landry                    1885 N Third St                                                       Baton Rouge      LA      70802
Office of the Attorney General          Maura Healey                   1 Ashburton Pl                                                        Boston           MA      02108
Office of the Attorney General          Brian E. Frosh                 200 St Paul Pl                                                        Baltimore        MD      21202
Office of the Attorney General          Janet T Mills                  6 State House Sta                                                     Augusta          ME      04333
Department of Attorney General          Bill Schuette                  PO Box 30212                                                          Lansing          MI      48909
Office of the Attorney General          Lori Swanson                   445 Minnesota St                        Suite 1400                    St Paul          MN      55101
Missouri Attorney General's Office      Josh Hawley                    PO Box 899                                                            Jefferson City   MO      65102
MS Attorney General's Office            Jim Hood                       Walter Sillers Bldg                     550 High St Ste 1200          Jackson          MS      39201
Office of the Attorney General          Tim Fox                        Department of Justice                   PO Box 201401                 Helena           MT      59620
Attorney General's Office               Josh Stein                     9001 Mail Service Ctr                                                 Raleigh          NC      27699
Office of the Attorney General          Wayne Stenehjem                State Capitol                           600 E Boulevard Ave Dept 125 Bismarck          ND      58505
Nebraska Attorney General               Doug Peterson                  2115 State Capitol                                                    Lincoln          NE      68509
Office of the Attorney General          Gordon MacDonald               NH Department of Justice                33 Capitol St                 Concord          NH      03301
Office of the Attorney General          Gurbir S Grewal                8th Fl West Wing                        25 Market St                  Trenton          NJ      08625
Office of the Attorney General          Hector Balderas                408 Galisteo St                         Villagra Bldg                 Santa Fe         NM      87501
Office of the Attorney General          Adam Paul Laxalt               100 N Carson St                                                       Carson City      NV      89701
Office of the Attorney General          Barbara Underwood              The Capitol                                                           Albany           NY      12224
Office of the Attorney General          Mike DeWine                    30 E Broad St 14th Fl                                                 Columbus         OH      43215
Office of the Attorney General          Mike Hunter                    313 NE 21st St                                                        Oklahoma City    OK      73105
Office of the Attorney General          Ellen F Rosenblum              Oregon Department of Justice            1162 Court St NE              Salem            OR      97301
Office of the Attorney General          Josh Shapiro                   16th Fl Strawberry Square                                             Harrisburg       PA      17120
Office of the Attorney General          Peter Kilmartin                150 S Main St                                                         Providence       RI      02903
Office of the Attorney General          Alan Wilson                    Rembert Dennis Office Bldg              1000 Assembly St Rm 519       Columbia         SC      29201
Office of the Attorney General          Marty J Jackley                1302 E Hwy 14 Ste 1                                                   Pierre           SD      57501
Office of the Attorney General          Herbert H. Slatery III         PO Box 20207                                                          Nashville        TN      37202
Office of the Attorney General          Ken Paxton                     300 W 15th St                                                         Austin           TX      78701
Office of the Attorney General          Sean D. Reyes                  Utah State Capitol Complex              350 North State St Ste 230    Salt Lake City   UT      84114
Office of the Attorney General          Mark R. Herring                202 North Ninth Street                                                Richmond         VA      23219
Office of the Attorney General          TJ Donovan                     109 State St                                                          Montpelier       VT      05609
Office of the Attorney General          Bob Ferguson                   800 Fifth Avenue                        Suite 2000                    Seattle          WA      98104
Office of the Attorney General          Brad D. Schimel                PO Box 7857                                                           Madison          WI      53707
Office of the Attorney General          Patrick Morrisey               State Capitol Complex                   Bldg 1 Room E 26              Charleston       WV      25305
Office of the Attorney General          Peter K Michael                2320 Capitol Avenue                                                   Cheyenne         WY      82002
Attorney General Office of Guam         Elizabeth Barrett-Anderson     ITC Building                            590 S Marine Corps Dr Ste 901 Tamuning         GU      96913
PR Department of Justice                Wanda Vazquez Garced           Apartado 9020192                                                      San Juan         PR      00902
Department of Justice                   Claude Walker                  34-38 Kronprindsens Gade                GERS Bldg 2nd Fl              St Thomas        VI      00802
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      Attachment 2
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                                  NOTICE ADMINISTRATOR FOR UNITED STATES DISTRICT COURT
                                                                             HILSOFT NOTIFICATIONS
                                                                                  10300 SW Allen Blvd
                                                                                 Beaverton, OR 97005
                                                                                      P 503-350-5800
                                                                            DL-CAFA@epiqglobal.com
September 10, 2018

VIA UPS OR USPS CERTIFIED MAIL

                  Class Action Fairness Act – Notice to Federal and State Officials

Dear Sir or Madam:

Pursuant to the “Class Action Fairness Act,” (“CAFA”), 28 U.S.C. §1715, please find enclosed
information from Total Merchant Services, Inc. and Quality Merchant Service, Inc. relating to the
proposed settlement of a class action lawsuit.

      Case: Naiman v. Total Merchant Services, Inc. and Quality Merchant Service, Inc., Case No.
       4:17-cv-03806-CW.

      Court: United States District Court for the Northern District of California.

      Defendants: Total Merchant Services, Inc. and Quality Merchant Service, Inc.

      Judicial Hearing Scheduled: At this time, a Final Approval Hearing has not been scheduled
       by the Court. At the time of the hearing, these matters may be continued without further
       notice.

      Documents Enclosed: Copies of the following documents are contained on the enclosed CD:
             1. Complaint for Damages and Injunctive Relief; First Amended Complaint for Damages
                and Injunctive Relief; and Second Amended Complaint for Damages and Injunctive
                Relief;
             2. Class Action Settlement Agreement (with exhibits);
             3. [Proposed] Final Approval Order and Judgment (see Exhibit 1 of the Settlement
                Agreement);
             4. Forms of Notice (see Exhibits 2-4 of the Settlement Agreement);
             5. [Proposed] Preliminary Approval Order (see Exhibit 5 of the Settlement Agreement); and
             6. List of Class Members and Geographic Distribution of Class Members and
                Proportionate Share of Claims.

Very truly yours,

Notice Administrator for United States District Court

Enclosures
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               EXHIBIT F
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   Jon B. Fougner (State Bar No. 314097)
 1 Email: Jon@FougnerLaw.com
   600 California Street, 11th Fl.
 2 San Francisco, CA 94108
 3 Telephone: (415) 577-5829
   Facsimile: (206) 338-0783
 4
 5 [Additional Counsel Appear on Signature Page]
 6 Attorneys for Plaintiff and the Proposed Class
 7
 8
                                 UNITED STATES DISTRICT COURT
 9                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                      OAKLAND DIVISION
10
   SIDNEY NAIMAN, individually and on
11 behalf of all others similarly situated,           No. 4:17-cv-03806-CW
12
                           Plaintiff,                 [PROPOSED] PRELIMINARY APPROVAL
13         v.                                         ORDER

14 TOTAL MERCHANT SERVICES, INC.
   and QUALITY MERCHANT
15 SERVICES, INC.,
16                   Defendants.

17
              Plaintiff Sidney Naiman has moved for preliminary approval of a proposed class settlement
18
19 that would resolve the Plaintiff’s class-action claims brought under the Telephone Consumer
20 Protection Act, 47 U.S.C. § 227. Upon consideration of the motion, the Settlement Agreement,
21 and the exhibits thereto, the Court GRANTS preliminary approval of the Settlement, finding
22
   specifically as follows.1
23
                                         I.   Jurisdiction
24
25             1.     The Court preliminarily finds that it has jurisdiction over the subject matter of this

26       action and personal jurisdiction over the parties and the members of the Settlement Class
27
     1
28    Unless otherwise defined herein, all terms used in this Order that are defined terms in the
     Settlement Agreement have the same meaning as set forth in the Settlement Agreement.

                                                     1
                           [PROPOSED] PRELIMINARY APPROVAL ORDER
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     described below.
 1
 2                                II.     Certification of Settlement Class

 3          2.      Under Rule 23 of the Federal Rules of Civil Procedure, the Court preliminarily
 4
     certifies the following “Settlement Class,” consisting of:
 5
           All persons within the United States to whom Quality Merchant Services, Inc.,
 6         Michael Alimento, and/or Brian Alimento made a telephone call using the Spitfire
           dialing software and/or system to any telephone number assigned to a cellular
 7
           telephone service for the purpose of promoting Defendant’s goods or services from
 8         July 5, 2013 through June 8, 2018. These individuals are identified on the Class
           List. Excluded from the Settlement Class are the following: (1) any trial judge who
 9         may preside over this Action; (ii) Defendant; (iii) any of the Released Parties; (iv)
           Class Counsel and their employees; (v) the immediate family of any of the
10
           foregoing Persons; (vi) any member of the Settlement Class who has timely
11         submitted a Request for Exclusion by the Objection/Exclusion Deadline; and (vii)
           any Person who has previously given a valid release of the claims asserted in the
12         Action.
13
                          III.    Class Representative and Class Counsel
14
           3.       The Court preliminarily appoints Plaintiff Sidney Naiman as Class Representative.
15
           4.       Under Rule 23(g), the following attorneys and firms are preliminarily appointed as
16
17 Class Counsel:
18                         Edward Broderick
                           Anthony Paronich
19
                           BRODERICK & PARONICH, P.C.
20                         99 High St., Suite 304
                           Boston, Massachusetts 02110
21                                -and-
                           Matthew P. McCue
22
                           THE LAW OFFICE OF MATTHEW P. MCCUE
23                         1 South Avenue, Suite 3
                           Natick, Massachusetts 01760
24                                -and-
                           Jon Bernhard Fougner
25
                           600 California Street, 11th Floor
26                         San Francisco, CA 94108
                                  -and-
27                         Andrew Heidarpour
                           Heidarpour Law Firm
28

                                                  2
                        [PROPOSED] PRELIMINARY APPROVAL ORDER
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                           1300 Pennsylvania Ave NW, 190-318
 1
                           Washington, DC 20004
 2
 3                                  IV.     Rule 23 Requirements
 4          5.      The Court preliminarily finds that the prerequisites for a class action under Federal
 5
     Rules of Civil Procedure 23(a) have been satisfied in that: (a) Settlement Class Members are so
 6
     numerous that joinder of them all is impracticable; (b) there are questions of law and fact common
 7
 8   to the Settlement Class Members; (c) the claims of the Class Representative are typical of the

 9   claims of the Settlement Class Members; (d) the Class Representative will fairly and adequately
10   represent the interests of the Settlement Class Members
11
            6.      The Court further finds that the requirements for class certification under Rule
12
     23(b)(3) have been satisfied in that (A) questions of law and fact common to the Settlement Class
13
14   Members predominate over any questions affecting only individual Settlement Class Members;

15   and (B) a class action is superior to other available methods for the fair and efficient adjudication
16   of the controversy.
17
                              V.      Preliminary Approval of the Settlement
18
            7.      Pursuant to the Settlement Agreement, Defendant has agreed to pay Seven Million
19
20   Five Hundred Thousand Dollars ($7,500,000) to create the Settlement Fund. Amounts awarded

21   to Class Counsel or the Class Representative will be exclusively paid from the Settlement Fund.
22   Class Members will receive a pro-rata share of the Settlement Fund after attorneys’ fees and costs,
23
     the Class Representative’s award, the costs of notice and administration and any other expenditure
24
     authorized by the Court are deducted. In addition to payments from the Settlement Fund,
25
26   Defendant has also agreed that it will take the following remedial steps: (1) it has terminated its

27   relationship with the co-defendant Quality Merchant Services, Inc. (2) it has agreed that to the
28   extent it uses an automatic telephone dialing system and/or artificial or prerecorded voice

                                                  3
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     message, Defendant will promptly stop using such automatic telephone dialing systems and/or
 1
 2   artificial or prerecorded voice messages to contact cellular telephones for telemarketing purposes

 3   without the recipient’s prior express written consent. Furthermore, the co-defendant Quality
 4
     Merchant Services, Inc. will immediately and permanently cease and desist from using automatic
 5
     telephone dialing systems and artificial or prerecorded voice messages similar to the Spitfire
 6
     dialing system used in this case (i.e. a computer-based dialing system) for any telemarketing
 7
 8   purposes without the recipient’s prior express written consent.

 9          8.       Having considered the motion for preliminary approval, the Settlement
10
     Agreement, and the exhibits thereto, as well as the Stipulation as to Changes to Class Action
11
     Settlement and the supplemental submission thereto, the Court preliminarily finds that the
12
     Settlement is fair, adequate, reasonable, and in the best interests of the Settlement Class. This
13
14   finding is supported by, among other things, the complex legal and factual posture of the Action,

15   the fact that the Settlement is the result of arm’s-length negotiations presided over by a neutral
16
     mediator, and the settlement benefits being made available to Settlement Class Members.
17
                                      VI.    Notice and Administration
18
            9.       The Court appoints Epiq to perform the functions and duties of the Settlement
19
20   Administrator set forth in the Settlement Agreement—including effectuating the Notice Plan—

21   and to provide such other administration services as are reasonably necessary to facilitate the
22
     completion of the Settlement.
23
            10.       The Court has carefully considered the notice program set forth in the Settlement
24
     Agreement. The Court finds that the notice program constitutes the best notice practicable under
25
26   the circumstances and satisfies fully the requirements of Rule 23(c)(2) and the requirements of

27   due process.
28

                                                    4
                          [PROPOSED] PRELIMINARY APPROVAL ORDER
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            11.     The Court thus approves the notice program and the form, content, and
 1
 2   requirements of the Notice described in and attached as exhibits to the Settlement Agreement.

 3   The Settlement Administrator shall cause the Notice Plan to be completed on or before [21 days
 4
     after preliminary approval]. Class Counsel shall, before the Final Approval Hearing, file with
 5
     the Court a declaration executed by the Settlement Administrator attesting to the timely
 6
     completion of the notice program.
 7
 8          12.     All costs of providing Class Notice to the Settlement Class, processing Claim

 9   Forms, and administering distributions from the Settlement Fund shall be exclusively paid out of
10
     the Settlement Fund, as provided by the Settlement Agreement, but the cost award to the
11
     Settlement Administrator shall not be approved until the Final Approval Hearing.
12
                                 VII.    Exclusion and “Opt-Outs”
13
14          13.     Each and every member of the Settlement Class shall be bound by all

15   determinations and orders pertaining to the Settlement, including the release of all claims to the
16
     extent set forth in the Settlement Agreement, unless such persons request exclusion from the
17
     Settlement in a timely and proper manner, as hereinafter provided.
18
            14.     A member of the Settlement Class wishing to request exclusion (or “opt-out”)
19
20   from the Settlement shall mail the request in written form, by first class mail, postage prepaid,

21   which must be received no later than [81 days after preliminary approval] by the Settlement
22
     Administrator at the address specified in the Notice. In the written request for exclusion, the
23
     member of the Settlement Class must state his or her full name, address, and telephone number(s).
24
     Further, the written request for exclusion must include the case name and number, a statement
25
26   that the member of the Settlement Class submitting the request wishes to be excluded from the

27   Settlement, and the personal signature of the member of the Settlement Class submitting the
28

                                                  5
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     request. The request for exclusion shall not be effective unless it provides the required information
 1
 2   and is made within the time stated above, or the exclusion is otherwise accepted by the Court. No

 3   member of the Settlement Class, or any person acting on behalf of or in concert or in participation
 4
     with a member of the Settlement Class, may request exclusion of any other member of the
 5
     Settlement Class from the Settlement.
 6
            15.     Members of the Settlement Class who timely request exclusion from the
 7
 8   Settlement will relinquish their rights to benefits under the Settlement and will not release any

 9   claims against the Defendant or any of the other Released Parties.
10
            16.     All Settlement Class Members who do not timely and validly request exclusion
11
     shall be so bound by all terms of the Settlement Agreement and by the Final Approval Order and
12
     Judgment even if they have previously initiated or subsequently initiate individual litigation or
13
14   other proceedings against the Defendant or any of the other Released Parties.

15          17.     The Settlement Administrator will promptly provide all Parties with copies of any
16
     exclusion requests, and Plaintiff shall file a list of all persons who have validly opted out of the
17
     Settlement with the Court before the Final Approval Hearing.
18
                                               VIII. Objections
19
20          18.     Any Settlement Class Member who does not file a timely request for exclusion,

21   but who wishes to object to approval of the proposed Settlement, to the award of attorneys’ fees
22
     and expenses, or to the compensation award to the Class Representative, must submit to the Clerk
23
     and Class Counsel a written statement that includes: his or her full name and address; the
24
     telephone numbers that he or she maintains were called; all grounds for the objection, with factual
25
26   and legal support for each stated ground; the identity of any witnesses he or she may call to testify;

27   copies of any exhibits that he or she intends to introduce into evidence at the Final Approval
28

                                                   6
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     Hearing; and a statement of whether he or she intends to appear at the Final Approval Hearing
 1
 2   and, if so, whether he or she intends to appear with counsel. The Court will consider objections

 3   to the Settlement, to the award of attorneys’ fees and expenses, or to the compensation award to
 4
     the Class Representative only if, on or before [81 days after preliminary approval], such
 5
     objections and any supporting papers are filed in writing with the Clerk of this Court, who is
 6
     ordered to scan them onto the electronic case docket.
 7
 8          19.     A Settlement Class Member who has timely filed a written objection as set forth

 9   above may appear at the Final Approval Hearing in person or through counsel to be heard orally
10
     regarding his or her objection. It is not necessary, however, for a Settlement Class Member who
11
     has filed a timely objection to appear at the Final Approval Hearing. No Settlement Class Member
12
     wishing to be heard orally in opposition to the approval of the Settlement and/or the request for
13
14   attorneys’ fees and expenses and/or the request for a compensation award to the Class

15   Representative will be heard unless that person has filed a timely written objection as set forth
16
     above. No non-party, including members of the Settlement Class who have timely opted-out of
17
     the Settlement, will be heard at the Final Approval Hearing.
18
            20.     Any member of the Settlement Class who does not opt out or make an objection
19
20   to the Settlement in the manner provided herein shall be deemed to have waived any such

21   objection by appeal, collateral attack, or otherwise, and shall be bound by the Settlement
22
     Agreement, the releases contained therein, and all aspects of the Final Approval Order and
23
     Judgment.
24
          IX.     Application for an Award of Attorneys’ Fees, Costs and an Incentive Award
25
26
            21.     Any application for a compensation award to the Class Representative as well as
27
     any application for an award of attorneys’ fees and expenses must be filed on or before [30 days
28

                                                  7
                        [PROPOSED] PRELIMINARY APPROVAL ORDER
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 1   after preliminary approval].
 2
 3                                     X.      Final Approval Hearing

 4          22.     A Final Approval Hearing will be held before the Court on [at least 100 days after
 5   preliminary approval] at _____ x.m. for the following purposes:
 6
                   (a)      to finally determine whether the requirements of Federal Rules of Civil
 7
           Procedure 23(a) and (b)(3) are met;
 8
 9                 (b)      to determine whether the Settlement is fair, reasonable and adequate, and

10         should be approved by the Court;
11                 (c)      to determine whether the judgment as provided under the Settlement
12
           Agreement should be entered, including a bar order prohibiting Settlement Class Members
13
           from further pursuing claims released in the Settlement Agreement;
14
15                 (d)      to consider the application for an award of attorneys’ fees and expenses of

16         Class Counsel;
17                 (e)      to consider the application for a compensation award to the Class
18
           Representative;
19
                   (f)      to consider the distribution of the Settlement Benefits under the terms of the
20
21         Settlement Agreement; and

22                 (g)      to rule upon such other matters as the Court may deem appropriate.
23          23.     On or before fourteen (14) days before the Final Approval Hearing, Class Counsel
24
     shall file and serve a motion for final approval.
25
            24.     The Final Approval Hearing may be postponed, adjourned, transferred or
26
27   continued by order of the Court without further notice to the Settlement Class. At, or following,

28   the Final Approval Hearing, the Court may enter a Final Approval Order and Judgment in

                                                  8
                        [PROPOSED] PRELIMINARY APPROVAL ORDER
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     accordance with the Settlement Agreement that will adjudicate the rights of all class members.
 1
 2          25.     For clarity, the deadlines the Parties shall adhere to are as follows:

 3 Class Notice Completed by:                      _________, 2018
 4
     Incentive Award and Fee Application:          _________, 2018
 5
 6 Objection/Exclusion Deadline:                   _________, 2018
 7
 8 Claim Deadline:                                 _________, 2018

 9
     Final Approval Submissions:                   _________, 2019
10
11 Final Approval Hearing:                         _________, 2019 at ______ x.m.

12
            26.     Settlement Class Members do not need to appear at the Final Approval Hearing or
13
     take any other action to indicate their approval.
14
15                                         XI.     Further Matters

16          27.     All discovery and other pretrial proceedings in the Action are stayed and
17   suspended until further order of the Court except such actions as may be necessary to implement
18
     the Settlement Agreement and this Order.
19
            28.     In the event that the Settlement Agreement is terminated under the terms of the
20
21   Settlement Agreement, or for any reason whatsoever the approval of it does not become Final and

22   no longer subject to appeal, then: (i) the Settlement Agreement shall be null and void, including
23   any provisions related to the award of attorneys’ fees and expenses, and shall have no further
24
     force and effect with respect to any party in this Action, and shall not be used in this Action or in
25
     any other proceeding for any purpose; (ii) all negotiations, proceedings, documents prepared, and
26
27   statements made in connection therewith shall be without prejudice to any person or party hereto,

28   shall not be deemed or construed to be an admission by any party of any act, matter, or

                                                  9
                        [PROPOSED] PRELIMINARY APPROVAL ORDER
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     proposition, and shall not be used in any manner of or any purpose in any subsequent proceeding
 1
 2   in this Action or in any other action in any court or other proceeding, provided, however, that the

 3   termination of the Settlement Agreement shall not shield from subsequent discovery any factual
 4
     information provided in connection with the negotiation of this Settlement Agreement that would
 5
     ordinarily be discoverable but for the attempted settlement; (iii) this Order shall be vacated; and
 6
     (iv) any party may elect to move the Court to implement the provisions of this paragraph, and
 7
 8   none of the non-moving parties (or their counsel) shall oppose any such motion.

 9          29.     The Court retains jurisdiction to consider all further matters arising out of or
10
     connected with the Settlement.
11
12
13 DATED:                         , 2018

14                                                       United States District Court
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                 10
                        [PROPOSED] PRELIMINARY APPROVAL ORDER
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